Case 2:05-cr-20lOO-SHI\/| Document 26 Filed 08/04/05 Page 1 of 2 Page|D 29

IN THE UNITED sTATEs DISTRICT CoURTm BL‘&--M

 

FOR THE wEsTERN DISTRICT oF TENNESS
WESTERN DIvIsION F'BAUG "h PH 11100
Tnfiw`s$§.www
UNITED STATES oF AMERICA, C|E%USM D£SIHJCIUM
vs. No. 05-20100-Ma

KEETRICK MCKINNEY ,

Defendant.

 

ORDER RESE'I"I‘ING SUPPRESSION HEARING

 

Before the court is the government‘s August 3, 2005,
unopposed motion to reset the suppression hearing of Keetrick
McKinney, Which is presently set for September 2, 2005. For
good cause shown, the motion is granted. The suppression hearing
is reset to Thursday, September 15, 2005, at 2230 p.m.

It is so OR_DERED this gm day of August, 2005.

MM-,

SAMUEL H. MAYS, JR.
U`NITED S'I‘ATES DISTRICT JUDGE

 

'l’h‘lc comment entered on the docket shut In BE§“
w‘|th R\lle 55 and!or 32£\)\ FRCrP on

29

 

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This notice confirms a copy of the document docketed as number 26 in
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Honorable Samuel Mays
US DISTRICT COURT

